
375 S.C. 90 (2007)
650 S.E.2d 473
SOUTH CAROLINA DEPARTMENT OF TRANSPORTATION, Respondent,
v.
McDONALD'S CORPORATION and Joel A. Pellicci and Linda Pellicci, Defendants, of whom McDonald's Corporation is, Petitioner.
No. 26373.
Supreme Court of South Carolina.
Submitted August 22, 2007.
Decided August 27, 2007.
*91 Michael H. Quinn, Quinn Law Firm, LLC, of Columbia, for Petitioner.
Barbara Munig Wessinger, S.C. Department of Transportation Legal Division, of Columbia; and Larry B. Hyman, Jr., of Conway, for Respondent.
PER CURIAM.
In this condemnation action, both petitioner and respondent filed motions in limine to exclude certain evidence from the proceedings. The trial judge granted respondent's motion and denied petitioner's motion. Petitioner appealed, and the Court of Appeals affirmed. S.C. Dep't of Transp. v. Mc-Donald's Corp., Op. No.2006-UP-237 (S.C. Ct.App. filed May 9, 2006). Petitioner seeks a writ of certiorari from the decision of the Court of Appeals. We grant the petition, dispense with further briefing, vacate the opinion of the Court of Appeals, and dismiss the appeal.
*92 A motion in limine is generally not considered a final order on the admissibility of evidence and, for that reason, is not immediately appealable. See, e.g. State v. Floyd, 295 S.C. 518, 369 S.E.2d 842 (1988). Because the appeal should have been dismissed, the Court of Appeals erred in addressing the merits of the appeal. Accordingly, we vacate the opinion of the Court of Appeals and dismiss the appeal as the order on the motions in limine is not immediately appealable.
VACATED AND DISMISSED.
TOAL, C.J., MOORE, WALLER, BURNETT and PLEICONES, JJ., concur.
